Case 19-31175-JNP     Doc 103    Filed 01/17/25 Entered 01/17/25 14:29:59   Desc Main
                                Document      Page 1 of 3




 CHRISTIANA MILLER
 1418 HADDON AVENUE
 CAMDEN, NJ 08103
Case 19-31175-JNP               Doc 103     Filed 01/17/25 Entered 01/17/25 14:29:59                           Desc Main
                                           Document      Page 2 of 3
                                  United States Bankruptcy Court
                                             District of New Jersey
 In Re: CHRISTIANA MILLER                                                  Case No.:                  19-31175-JNP

                                                                            Chapter:                      13
                                                                           Judge:               Jerrold N. Poslusny Jr.

 Notice of Final Cure Payment Pursuant to F.R.B.P. 3002.1 (f)

  Part 1: Claim Information
  a. Name of holder (or servicer) of claim secured by a security interest in the debtor's principal
  residence:                                             MIDFIRST BANK

  b. Proof of Claim number on court's registry:                  7

  c. Trustee's claim number (if any):                      11

  Part 2: Trustee Certification

 I,                   Andrew B. Finberg              , the Chapter 13 Trustee, hereby certify that all
 payments required to be paid through the Chapter 13 Plan for the benefit of the secured creditor named
 above, including pre-petition arrears and all other amounts due to be paid to the secured creditor through
 the Chapter 13 Plan which arose post-petition pursuant to Order or Modified Plan, have been paid in full
 to the secured creditor. I futher certify that on       January 16, 2025
                                                                        a copy of this notice was served
 on the debtor(s), debtor's attorney (if any) and the secured creditor at the address noted below.

  Part 3: Signature

      /s/ Andrew B. Finberg                                     Date:               January 16, 2025
  Signature

  Part 4: Service

  Notice Mailed to:
  Debtor(s) (address):        1418 HADDON AVENUE, CAMDEN, NJ 08103


  Debtor(s)' Counsel:

              R Via CM/ECF
              £ Via email (email address):
              £ Via US Mail (address):

  Creditor (or creditor's counsel):

              R Via CM/ECF
              £ Via email (email address):
              £ Via US Mail (address):


              This Notice of Final Cure Payment informs the holder of the claim of its obligation to file
           and serve a Response pursuant to F.R.P.B. 3002.1 (g) under the Court’s General Order Adopting
             Supplemental Chapter 13 Plan Provisions as revised September 1, 2010. See Instructions at
                                                   paragraph (1).
Case 19-31175-JNP             Doc 103       Filed 01/17/25 Entered 01/17/25 14:29:59                          Desc Main
                                           Document      Page 3 of 3
 Part 5: Instructions
 1. Response to Notice of Final Cure Payment. Within 21 days after service of the Notice of Final
 Cure Payment, the holder of a claim secured by a security interest in the debtor’s principal residence
 shall file and serve on the debtor, debtor’s counsel and trustee, Local Form, Statement In Response to
 Notice of Final Cure Payment, indicating whether (1) it agrees that the debtor has paid in full the
 amount required to cure the default, and (2) the debtor is otherwise current on all payments consistent
 with § 1322(b)(5) of the Code. The Statement shall itemize any required cure or post-petition amounts,
 if any, that the holder contends remain unpaid as of the date of the statement.

 2. Determination of Final Cure and Payment. On motion of the debtor or trustee filed within 21 days
 after service of the Statement given pursuant to paragraph (1) above, the court shall, after notice and
 hearing, determine whether the debtor has cured the default and paid all required pre and post-petition
 amounts.

 3. Order Deeming Mortgage Current. If the holder of a claim fails to respond to the Notice of Final
 Cure Payment, the debtor may submit a proposed order deeming the mortgage current. The proposed
 order shall be served on the holder of the secured claim and the trustee. All parties served with such an
 order shall have 7 days to file and serve an objection. A hearing may be conducted on the objection at
 the Court’s discretion.

 4. Failure to Notify. In addition to the relief accorded pursuant to paragraph (3) above, if the holder of
 a claim fails to provide information required by paragraph (1) above, the court may, after notice and
 hearing, take either or both of the following actions:

   i. preclude the holder from presenting the omitted information, in any form, as evidence in any
 contested matter or adversary proceeding in the case, unless the court determines that the failure was
 substantially justified or is harmless; or

    ii. award other appropriate relief including reasonable expenses and attorney’s fees caused by the
 failure.




                                                                                                               rev.9/1/10




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